
266 P.3d 177 (2011)
246 Or. App. 573
STATE of Oregon, Plaintiff-Appellant,
v.
Richard Leonard SCOTT, Defendant-Respondent.
097018; A144691.
Court of Appeals of Oregon.
Argued and Submitted September 30, 2011.
Decided November 9, 2011.
Joanna L. Jenkins, Assistant Attorney General, argued the cause for appellant. With her on the brief were John R. Kroger, Attorney General, and Mary H. Williams, Solicitor General.
*178 Ryan T. O'Connor, Senior Deputy Public Defender, argued the cause for respondent. With him on the brief was Peter Gartlan, Chief Defender, Office of Public Defense Services.
Before SCHUMAN, Presiding Judge, and WOLLHEIM, Judge, and NAKAMOTO, Judge.
PER CURIAM.
Vacated and remanded for reconsideration. State v. Machuca, 347 Or. 644, 227 P.3d 729 (2010); State v. Martinez-Alvarez, 245 Or. App. 369, 263 P.3d 1091 (2011).
